                             Case 24-11575-MFW                         Doc 1        Filed 07/24/24            Page 1 of 16

 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 United States Bankruptcy Court for the:

                                         Delaware
 ____________________ District of _________________
                                         (State)
 Case number (If known): _________________________ Chapter _____       11
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHGHEWRU¶VQDPHDQGWKHFDVH
QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH




    'HEWRU¶VQDPH                               Meier’s Wine Cellars Acquisition, LLC
                                               ______________________________________________________________________________________________________




    $OORWKHUQDPHVGHEWRUXVHG             ______________________________________________________________________________________________________
       LQWKHODVW\HDUV                     ______________________________________________________________________________________________________
                                               ______________________________________________________________________________________________________
       Include any assumed names,
                                               ______________________________________________________________________________________________________
       trade names, and doing business
       as names                                ______________________________________________________________________________________________________




    'HEWRU¶VIHGHUDO(PSOR\HU                   8 7      4 3 0 5 5 5 7
                                               ___ ___ – ___ ___ ___ ___ ___ ___ ___
       ,GHQWLILFDWLRQ1XPEHU(EIN)



    'HEWRU¶VDGGUHVV                        3ULQFLSDOSODFHRIEXVLQHVV                                0DLOLQJDGGUHVVLIGLIIHUHQWIURPSULQFLSDOSODFH
                                                                                                           RIEXVLQHVV

                                                   205       Concourse Blvd.
                                               ______________________________________________              _______________________________________________
                                               Number     Street                                           Number     Street

                                               ______________________________________________              _______________________________________________
                                                                                                           P.O. Box

                                                   Santa Rosa                  CA         95403
                                               ______________________________________________              _______________________________________________
                                               City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                           /RFDWLRQRISULQFLSDODVVHWVLIGLIIHUHQWIURP
                                                                                                           SULQFLSDOSODFHRIEXVLQHVV
                                                   Sonoma
                                               ______________________________________________
                                               County                                                      _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




    'HEWRU¶VZHEVLWH (URL)                      www.vintagewineestates.com
                                               ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                               Case 24-11575-MFW                Doc 1        Filed 07/24/24            Page 2 of 16

Debtor          Meier’s Wine Cellars Acquisition, LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name




    7\SHRIGHEWRU                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify: __________________________________________________________________

                                         A. Check one:
    'HVFULEHGHEWRU¶VEXVLQHVV
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5 ___
                                            ___ 5 ___
                                                   1 ___
                                                      1
    8QGHUZKLFKFKDSWHURIWKH       Check one:
       %DQNUXSWF\&RGHLVWKH
       GHEWRUILOLQJ"                    Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                             4/01/25 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                             chooses to proceed under Subchapter V of Chapter 11.

                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
    :HUHSULRUEDQNUXSWF\FDVHV       No 
       ILOHGE\RUDJDLQVWWKHGHEWRU
       ZLWKLQWKHODVW\HDUV"          Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY


 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 
                               Case 24-11575-MFW                  Doc 1       Filed 07/24/24            Page 3 of 16

Debtor         Meier’s Wine Cellars Acquisition, LLC
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



  $UHDQ\EDQNUXSWF\FDVHV             No
     SHQGLQJRUEHLQJILOHGE\D                         See attached Schedule 1
     EXVLQHVVSDUWQHURUDQ               
                                          ■ Yes. Debtor _____________________________________________ Relationship _________________________
     DIILOLDWHRIWKHGHEWRU"                       District _____________________________________________ When               __________________
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                        Case number, if known ________________________________



  :K\LVWKHFDVHILOHGLQthis       Check all that apply:
     district"
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

  'RHVWKHGHEWRURZQRUKDYH          No
     SRVVHVVLRQRIDQ\UHDO                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     SURSHUW\RUSHUVRQDOSURSHUW\
     WKDWQHHGVLPPHGLDWH                         :K\GRHVWKHSURSHUW\QHHGLPPHGLDWHDWWHQWLRQ"(Check all that apply.)
     DWWHQWLRQ"
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                   Other _______________________________________________________________________________


                                                  :KHUHLVWKHSURSHUW\"_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________        _______ ________________
                                                                             City                                            State ZIP Code


                                                  ,VWKHSURSHUW\LQVXUHG"

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




             Statistical and administrative information



  'HEWRU¶VHVWLPDWLRQRI              Check one:
     DYDLODEOHIXQGV                       Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                            1,000-5,000                              25,001-50,000
  (VWLPDWHGQXPEHURI
                                           50-99                           5,001-10,000                             50,001-100,000
     FUHGLWRUV
      RQDFRQVROLGDWHGEDVLVZLWKDOO
                                           100-199                         10,001-25,000                            More than 100,000
     DIILOLDWHGGHEWRUV                   200-999

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 
                                Case 24-11575-MFW                   Doc 1          Filed 07/24/24           Page 4 of 16

Debtor         Meier’s Wine Cellars Acquisition, LLC
              _______________________________________________________                             Case number (if known)_____________________________________
              Name



                                            $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
  (VWLPDWHGDVVHWV
                                            $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
      RQDFRQVROLGDWHGEDVLVZLWKDOO
     DIILOLDWHGGHEWRUV                    $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                            $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
  (VWLPDWHGOLDELOLWLHV
                                            $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
       RQDFRQVROLGDWHGEDVLVZLWKDOO
      DIILOLDWHGGHEWRUV                   $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


             Request for Relief, Declaration, and Signatures


 :$51,1* -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  'HFODUDWLRQDQGVLJQDWXUHRI         Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     DXWKRUL]HGUHSUHVHQWDWLYHRI
                                               petition.
     GHEWRU
                                           Q   I have been authorized to file this petition on behalf of the debtor.

                                           Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                            07 24 2024
                                               Executed on _________________
                                                           MM / DD / YYYY


                                           8      V.ULVWLQD-RKQVWRQ
                                               _____________________________________________                 Kristina Johnston
                                                                                                            _______________________________________________
                                               Signature of authorized representative of debtor             Printed name

                                                     Secretary and Treasurer
                                               Title _________________________________________




  6LJQDWXUHRIDWWRUQH\
                                           8      V=DFKDU\,6KDSLUR
                                               _____________________________________________                Date       07    24 2024
                                                                                                                       _________________
                                               Signature of attorney for debtor                                        MM     / DD / YYYY



                                                Zachary I. Shapiro
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Richards, Layton & Finger, P.A.
                                               _________________________________________________________________________________________________
                                               Firm name
                                               920         North King Street
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Wilmington
                                               ____________________________________________________             DE
                                                                                                               ____________  19801
                                                                                                                            ______________________________
                                               City                                                            State        ZIP Code

                                                (302) 651-7819
                                               ____________________________________                             shapiro@rlf.com
                                                                                                               __________________________________________
                                               Contact phone                                                   Email address



                                                005103
                                               ______________________________________________________  DE
                                                                                                      ____________
                                               Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 
              Case 24-11575-MFW          Doc 1     Filed 07/24/24     Page 5 of 16




                                         SCHEDULE 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the "Debtors") filed a
petition in this court for relief under chapter 11 of title 11 of the United States Code. Each
Debtor is listed with the last four digits of its federal tax identification number. The Debtors
have moved for joint administration of these cases under the case number assigned to the chapter
11 case of Meier’s Wine Cellars Acquisition, LLC.


                        Meier’s Wine Cellars Acquisition, LLC (5557)
                              California Cider Co., Inc. (0443)
                                 Girard Winery LLC (5076)
                               Grove Acquisition, LLC (9465)
                              Meier’s Wine Cellars, Inc. (2300)
                                 Mildara Blass Inc. (1491)
                           Sabotage Wine Company, LLC (8393)
                        Thames America Trading Company Ltd. (0696)
                                   Vinesse, LLC (3139)
                           Vintage Wine Estates, Inc. (NV) (5902)
                           Vintage Wine Estates, Inc. (CA) (2279)
               Case 24-11575-MFW          Doc 1     Filed 07/24/24      Page 6 of 16




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:
                                                           Chapter 11

 Meier’s Wine Cellars Acquisition, LLC,                    Case No. 24-_______(___)

                  Debtor.                                   (Joint Administration Requested)



                       CONSOLIDATED LIST OF CREDITORS
                   HOLDING THE 30 LARGEST UNSECURED CLAIMS

        Vintage Wine Estates, Inc. (NV) and certain of its direct and indirect subsidiaries, as
debtors and debtors in possession (collectively, the "Debtors"), in the above-captioned cases each
filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code
(the "Bankruptcy Code"). Contemporaneously with the filing of their petitions, the Debtors are
hereby filing a consolidated list of the 30 largest unsecured creditors of the Debtors
(the "Creditors List") in lieu of a separate list for each Debtor, consistent with Rule 1007-2 of the
Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware.

        The Creditors List is based on the Debtors' unaudited books and records as of the petition
date and was prepared in accordance with Federal Rule of Bankruptcy Procedure 1007(d) for filing
in the chapter 11 case. The Creditor List does not include: (1) persons who come within the
definition of "insider" set forth in section 101(31) of the Bankruptcy Code; or (2) secured creditors,
unless the value of a secured creditor's collateral is such that the unsecured deficiency places the
creditor among the holders of the 30 largest unsecured claims. The information contained herein
constitutes neither an admission by the Debtors, nor does it constitute a waiver of the Debtors'
right to contest the validity, priority or amount of any claim at a later date.
                                    Case 24-11575-MFW                         Doc 1       Filed 07/24/24             Page 7 of 16


      Fill in this information to Identify the case:

      Debtor Name: Meier’s Wine Cellars Acquisition, LLC
                                                                                                                                              Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                   amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,         Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of            (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact                debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                               professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                               services, and         or disputed     setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if       Deduction          Unsecured
                                                                                                                     partially secured     for value of       claim
                                                                                                                                           collateral or
                                                                                                                                           setoff

  1       WITHERS ROAD NAPA CA, LP            CONTACT: MATT JANDREAU           LANDLORD                                                                            $1,343,761.97
          GLADSTONE LAND CORPORATION          PHONE: 703-287-5893
          1521 WESTBRANCH DRIVE, STE 100      COMMERCIAL@GLADSTONE
          MCLEAN, VA 22102                    COMPANIES.COM
  2       SHANNON RANCHES, INC.               PHONE: 916-775-2203   TRADE DEBT                                                                                     $1,065,136.13
          12601 E. HIGHWAY 20                 NATALIE@SHANNONRANCHE
          CLEARLAKE OAKS, CA 95423            S.COM
  3       FEDERAL EXPRESS CORP.               CONTACT: KYLON FREEMAN           TRADE DEBT                                                                          $1,028,510.66
          3965 AIRWAYS BLVD MODULE G          PHONE: 901-252-6173
          3RD FL                              BANKRUPTCY@FEDEX.COM
          MEMPHIS, TN 38116-50107
  4       FERMENTED VISION                    CONTACT: ADAM METTLER            TRADE DEBT                                                                           $999,813.02
          8958 E HIGHWAY 12 UNIT 776          PHONE: 209-400-7994
          VICTOR, CA 95253-2016
  5       MULTI-COLOR CORPORATION             CONTACT: KRISTI P. NELSON,       TRADE DEBT                                                                           $823,798.19
          C/O WS PACKAGING GROUP INC          GENERAL COUNSEL
          4053 CLOUGH WOODS DR                KRISTI.NELSON@MCCLABEL.
          BATAVIA, OH 45103                   COM
  6       DISTILLED SPIRITS EPICENTER         CONTACT: CINDY ALLEN             TRADE DEBT                                                                           $719,095.60
          801 SOUTH 8TH ST                    CINDYA@FLAVORMAN.COM
          LOUISVILLE, KY 40203
  7       ARDAGH GLASS INC.                 CONTACT: TRACY        TRADE DEBT                                                                                        $620,630.37
          10194 CROSSPOINT BLVD., SUITE 410 PEMBERTON
          INDIANAPOLIS, IN 46256            PHONE: 707-200-9344
                                            TRACY.PEMBERTON@ARDAG
                                            HGROUP.COM




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                         Page 1
                                  Case 24-11575-MFW                  Doc 1       Filed 07/24/24             Page 8 of 16
  Debtor: Meier’s Wine Cellars Acquisition, LLC                                               Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  8     OPPENHEIMER & CO. INC.             CONTACT: ALBERT G          TRADE DEBT                                                                           $600,000.00
        85 BROAD ST                        LOWENTHAL
        4TH FL                             PHONE: 212-668-8000
        NEW YORK, NY 10004                 INFO@OPCO.COM;
  9     VINTNERS 1904, INC.                CONTACT: ROBBY HARRIS  TRADE DEBT                                                                               $551,854.50
        10815 MINNESOTA AVE                PPETERSON2222@HOTMAIL.
        PENNGROVE, CA 94951                COM
  10    SAXCO INTERNATIONAL LLC            PHONE: 877-641-4003        TRADE DEBT                                                                           $486,914.38
        1855 GATEWAY BLVD SUITE 400        CASHAPP@SAXCO.COM
        CONCORD, CA 94520
  11    MHV, LLC                           CONTACT: ANTONIO           TRADE DEBT                                                                           $385,983.58
        5537 SOLANO AVE                    SERRANO
        NAPA, CA 94558                     ANTONIO@BETTINELLIVINEY
                                           ARDS.COM
  12    MICROSTAR KEG MANAGEMENT LLC CONTACT: TRACEY LA PIERRE TRADE DEBT                                                                                  $357,500.89
        6400 S FIDDLERS GREEN CIR    ACCOUNTSRECEIVABLE@MIC
        ENGLEWOOD, CO 80111          ROSTARKEGS.COM


  13    ALTERNATIVE RISK UNDERWRITING,     CONTACT: MELISSA BACKES    TRADE DEBT                                                                           $282,200.00
        LLC                                PHONE: 847-577-4186
        1834 WALDEN OFFICE SQUARE          WACHTLER@ARU111.COM
        SUITE 550
        SCHAUMBURG, IL 60173
  14    CHERRY BEKAERT LLP                 CONTACT: MARK COOTER       PROFESSIONAL                                                                         $277,167.43
        3800 GLENWOOD AVENUE               PHONE: 919-782-1040        SERVICES
        SUITE 200                          FAX: 919-783-00976
        RALEIGH, NC 27612                  MCOOTER@CBH.COM
  15    BODEGA & VINEDOS RIO DULCE S.A.    CONTACT: FEDERICO          TRADE DEBT                                                                           $267,680.00
        DORREGO 4901                       FERNANDEZ
        COQUIMBITO, MAIPU                  FAX: +54 9261 4155977
        MENDOZA                            FEDERICO@DOMICIANO.CO
        ARGENTINA                          M.AR


  16    NORTH ANDRE JUICE                  PHONE: 949-888-8692        TRADE DEBT                                                                           $259,818.00
        39 ENCHANTED                       FAX: 714-386 5353
        IRVINE, CA 92620                   SALES@NORTHANDRE.COM;
                                           ANDREHK@NORTHANDRE.C
                                           OM


  17    PRICEWATERHOUSECOOPERS LLP         CONTACT: ROBERT MORITZ     TRADE DEBT                                                                           $230,800.00
        PWC US TAX LLP                     PHONE: 646-471-3000
        300 MADISON AVE                    FAX: 813-286-6000
        NEW YORK, NY 10017                 ROBERT.MORITZ@US.PWC.C
                                           OM
  18    DIRT FARMER AND COMPANY            CONTACT: STACY KUNDE   TRADE DEBT                                                                               $224,360.31
        9725 LOS GUILICOS AVE              PHONE: 707-833-2054
        KENWOOD, CA 95452-0638             STACY@DIRTFARMERANDCO.
                                           COM
  19    SONOMA BRANDS PARTNERS II, LLC     CONTACT: SHAHIR AMIN       TRADE DEBT                                                                           $213,415.91
        117 W. NAPA STREET, STE. C         PHONE: 707-656-2015
        SONOMA, CA 95476                   HELLO@SONOMABRANDS.C
                                           OM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 2
                                  Case 24-11575-MFW                  Doc 1       Filed 07/24/24             Page 9 of 16
  Debtor: Meier’s Wine Cellars Acquisition, LLC                                               Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  20    MONVERA GLASS DECOR                CONTACT: NARGUESS FARAHI TRADE DEBT                                                                             $205,630.61
        1414 HARBOUR WAY SOUTH STE         PHONE: 877-792-1150
        1400                               FAX: (707) 271-6455
        RICHMOND, CA 94804                 INFO@MONVERA.COM;
                                           NARGUESS@MONVERA.COM



  21    FRUITSMART, INC.                   CONTACT: SARA BAUDRAU,     TRADE DEBT                                                                           $199,761.00
        506 6TH ST                         DIRECTOR OF FINANCE
        PO BOX 177                         PHONE: 509-882-9956
        PROSSER, WA 99350                  INFO@FRUITSMART.COM
  22    BARTOW ETHANOL OF FLORIDA LC       CONTACT: MATT DUNBAR, TRADE DEBT                                                                                $196,172.97
        1705 E MANN RD                     JESSICA BALLARD
        BARTOW, FL 33830                   PHONE: 863-533-2498
                                           MDUNBAR@BARTOWETHAN
                                           OL.COM
  23    G3 ENTERPRISES INC                 CONTACT: ETHAN JONES    TRADE DEBT                                                                              $193,022.79
        5174 SONOMA MOUNTAIN ROAD          PHONE: 805-674-7145
        SANTA ROSA, CA 95404               ETHAN.JONES@G3ENTERPRIS
                                           ES.COM
  24    SC WAREHOUSES, LLC                 HEIDI@EAGLE-               TRADE DEBT                                                                           $187,865.96
        360A INDUSTRIAL CT                 REDWOOD.COM
        BENICIA, CA 94510
  25    GUALA CLOSURES NORTH AMERICA       NEY@GUALACLOSURESNA.C      TRADE DEBT                                                                           $185,954.00
        INC                                OM
        2300 S WATNEY WAY SUITE A
        FAIRFIELD, CA 94533
  26    CHEROKEE FREIGHT LINES             PHONE: 209-931-3570        TRADE DEBT                                                                           $179,005.46
        3655 CHEROKEE RD                   FAX: (209) 931-1207
        STOCKTON, CA 95205                 SHEREE@GOCFL.COM
  27    RAMONDIN CAPSULAS                  CONTACT: DIANA MCVEY       TRADE DEBT                                                                           $175,386.89
        541 TECHNOLOGY WAY                 AR.USA@CREALISGROUP.CO
        NAPA, CA 94558-7589                M
  28    EMBARK INTERMEDIATE HOLDINGS,      PHONE: 214-225-0148   TRADE DEBT                                                                                $174,671.45
        LLC                                HELLO@EMBARKWITHUS.CO
        333 1ST AVE                        M
        DALLAS, TX 75226
  29    GALLO GLASS COMPANY                PHONE: 209-341-4527    TRADE DEBT                                                                               $170,536.65
        605 S SANTA CRUZ AVE               DSHAFFER@GALLOGLASS.CO
        MODESTO, CA 95354                  M
  30    COASTAL VINEYARD CARE              CONTACT: JEFF NEWTON,  TRADE DEBT                                                                               $170,477.04
        ASSOCIATES                         CO-OWNER
        224 EAST HIGHWAY 246, SUITE A      PHONE: 805-693-4720
        BUELLTON, CA 93427                 FAX: 805-688-1861
                                           VINEYARD@COASTALVINEYA
                                           RDCARE.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 3
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:
                                                     Chapter 11
 Meier’s Wine Cellars Acquisition, LLC,
                                                     Case No. 24-_______(___)
                   Debtor.
                                                     (Joint Administration Requested)


                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                 AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                  TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3) AND 7007.1

       Pursuant to rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
Meier’s Wine Cellars Acquisition, LLC states as follows:

                                  Name and Address of Equity             Percentage of
                Debtor
                                         Interest Holder                 Interests Held
                                  Vintage Wine Estates, Inc. (CA)
          Meier’s Wine Cellars
                                       205 Concourse Blvd.                   100%
           Acquisition, LLC
                                      Santa Rosa, CA 95403
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 Fill in this information to identify the case and this filing:


                Meier's Wine Cellars Acquisition, LLC
 Debtor Name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________
                                                       List of equity security holders and statement of corporate ownership




        I declare under penalty of perjury that the foregoing is true and correct.


                    07/2/2024
        Executed on ______________                         8 /s/ Kristina Johnston
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Kristina Johnston
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Secretary and Treasurer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                     WRITTEN CONSENT
                                     OF THE MANAGERS
                                            OF
                           MEIER’S WINE CELLARS ACQUISITION, LLC
                                                       , 2024
                                                 July ___

        The undersigned, being all of the managers (the "Managers") of Meier’s Wine Cellars Acquisition,

LLC, a Delaware limited liability company (the "Company"), hereby adopt, consent, approve and ratify the

following resolutions by written consent:

Chapter 11 Filing

        WHEREAS, the Managers have regularly and carefully reviewed the materials and other
        information presented by the Company's management and advisors regarding the
        Company's business conditions, the Company's operations, its current and projected
        financial position, and other relevant information;

        WHEREAS, the Managers have thoroughly evaluated the Company's strategic alternatives,
        including a possible restructuring;

        WHEREAS, the Managers have conferred extensively with the Company’s management
        and advisors regarding these matters, and determined that the filing of a voluntary petition
        for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
        is in the best interests of the Company, its subsidiaries and affiliates, and its stakeholders;

        WHEREAS, the Managers have determined that the entry into a new debtor in possession
        financing facility or facilities, including use of cash collateral, is in the best interests of the
        Company, its subsidiaries and affiliates, and its stakeholders; and

        WHEREAS, the Managers have determined that entry into a Potential Sale Transaction (as
        defined below) is in the best interests of the Company, its subsidiaries and affiliates, and
        its stakeholders.

        NOW, THEREFORE, BE IT RESOLVED, that the Company shall be, and it hereby is,
        contemporaneously herewith, authorized to file a voluntary petition (the "Petition") for
        relief under chapter 11 of title 11 of the Bankruptcy Code, in the United States Bankruptcy
        Court for the District of Delaware or such other court as the Managers of the Company
        shall determine to be appropriate (the "Bankruptcy Court") and perform any and all such
        acts as are reasonable, advisable, expedient, convenient, proper or necessary to effect any
        of the foregoing;

        FURTHER RESOLVED, that the Managers and the Secretary and Treasurer (collectively,
        the "Designated Officers") shall be, and each of them, acting alone, hereby is, authorized
        and empowered on behalf of, and in the name of, the Company, to: (a) execute,
        acknowledge, deliver and verify the Petition and all other ancillary documents, and cause
        the Petition to be filed with the Bankruptcy Court and make or cause to be made prior to
        execution thereof any modifications to the Petition or ancillary documents as any such
        Designated Officer, in such officer's discretion, deems necessary or desirable to carry out


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        the intent and accomplish the purposes of these resolutions; (b) execute, acknowledge,
        deliver, verify and file or cause to be filed all petitions, schedules, statements, lists,
        motions, applications and other papers or documents necessary or desirable in connection
        with the foregoing; (c) execute, acknowledge, deliver and verify any and all other
        documents necessary or appropriate in connection therewith or to administer the
        Company's chapter 11 case in such form or forms as any such Designated Officer may
        approve; and (d) cause any of the Company’s majority-owned subsidiaries to take any
        action consistent with these resolutions, including the filing of petitions for relief under
        chapter 11, the retention of professionals and the incurrence of debt by such subsidiaries;
        and

        FURTHER RESOLVED, that the actions of any Designated Officer taken pursuant to the
        preceding resolution, including the execution, acknowledgment, delivery and verification
        of the Petition and all ancillary documents and all other agreements, certificates,
        instruments, guaranties, notices and other documents, shall be conclusive evidence of such
        Designated Officer's approval and the necessity or desirability thereof.

Debtor in Possession Facility

        RESOLVED, that the Company, shall be, and it hereby is, authorized to: (a) enter into a
        new debtor in possession loan facility (the "DIP Facility") and any associated documents,
        and any and all amendments, modifications or supplements thereto, and consummate the
        transactions contemplated therein (collectively, the "DIP Facility Transactions"), with such
        lenders and on such terms substantially consistent with those presented to the Managers on
        or prior to the date hereof and as may be further approved, modified or amended by any
        one or more of the Designated Officers, as may be reasonably necessary or desirable for
        the continuing conduct of the affairs of the Company; and (b) pay related fees and grant
        security interests in and liens upon some, all or substantially all of the Company's assets,
        in such case, as may be deemed necessary or desirable by any one or more of the
        Designated Officers in connection with the DIP Facility Transactions; and

        FURTHER RESOLVED, that: (a) the Designated Officers shall be, and each of them,
        acting alone, hereby is, authorized and empowered in the name of, and on behalf of, the
        Company to take such actions and execute, acknowledge, deliver and verify such
        agreements, certificates, instruments, security agreements, pledges, guaranties, notices and
        any and all other documents as any of the Designated Officers may deem necessary or
        appropriate to facilitate the DIP Facility Transactions, and any and all amendments,
        modifications or supplements thereto (collectively, the "DIP Facility Documents"); (b) DIP
        Facility Documents containing such provisions, terms, conditions, covenants, warranties
        and representations as may be deemed necessary or desirable by any of the Designated
        Officers are hereby approved; and (c) the actions of any Designated Officer taken pursuant
        to this resolution, including the execution, acknowledgment, delivery and verification of
        all agreements, certificates, instruments, guaranties, notices and other documents, shall be
        conclusive evidence of such Designated Officer's approval thereof and the necessity or
        desirability thereof.

Potential Sale Transaction

        RESOLVED, that the Company shall be, and hereby is, and the Designated Officers shall
        be, and each of them, acting alone, hereby is, authorized and empowered in the name of,
        and on behalf of, the Company, to file a motion with the Bankruptcy Court (a) seeking

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        approval of bidding procedures to be used to facilitate a potential sale of all or substantially
        all of the Company's assets pursuant to section 363 of the Bankruptcy Code (each such
        potential transaction, a "Potential Sale Transaction") and (b) seeking approval of one or
        more stalking horse purchasers for each Potential Sale Transaction, on such terms as may
        subsequently be approved by the Designated Officers, as may be reasonably necessary or
        desirable.

Retention of Professionals and Claims and Noticing Agent

        RESOLVED, that the Designated Officers shall be, and each of them hereby is, authorized
        and empowered to retain, on behalf of, and in the name of, the Company: (a) Jones Day;
        (b) Richards, Layton & Finger, P.A.; (c) GLC Advisors & Co., LLC, as investment banking
        firm; (d) Riveron Consulting, LLC, as financial advisor; and (e) such additional
        professionals, including attorneys, accountants, financial advisors, investment bankers,
        actuaries, consultants or brokers, in each case as in any such Designated Officer's judgment
        may be necessary or desirable in connection with the Company's chapter 11 case and other
        related matters, on such terms as such officer or officers shall approve and such Designated
        Officer's retention thereof to constitute conclusive evidence of such Designated Officer's
        approval and the necessity and desirability thereof; and

        FURTHER RESOLVED, that the law firm Jones Day and the law firm Richards, Layton
        & Finger, P.A. and any additional special counsel selected by the Designated Officers, if
        any, shall be, and hereby are, authorized and empowered to represent the Company, as
        debtor and debtor in possession, in connection with any chapter 11 case commenced by or
        against it under the Bankruptcy Code.

Additional Resolutions

        RESOLVED, that, in addition to the specific authorizations heretofore conferred upon the
        Designated Officers, each of them or their designees shall be, and each of them, acting
        alone, hereby is, authorized and empowered, in the name of, and on behalf of, the Company
        to take or cause to be taken any and all such further actions, to execute and deliver any and
        all such agreements, certificates, instruments, amendments and other documents and to pay
        all expenses, including filing fees, in each case as in such officer's or officers' judgment
        shall be necessary or desirable in order fully to carry out the intent and accomplish the
        purposes of the resolutions adopted herein;

        FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken or to be taken
        by any Managers of the Company in connection with any of the foregoing matters in all
        respects are hereby ratified, confirmed and approved; and

        FURTHER RESOLVED, that any Manager of the Company shall be, and each of them,
        acting alone, hereby is, authorized to certify and deliver, to any person to whom such
        certification and delivery may be deemed necessary or appropriate in the opinion of such
        Manager, a true copy of the foregoing resolutions.

                                     [Signature Page Follows]




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